Case 3:22-cv-00049-NKM-JCH Document 90-1 Filed 11/14/22 Page 1 of 2 Pageid#: 739




                               EXHIBIT A
                        Case 3:22-cv-00049-NKM-JCH Document 90-1 Filed 11/14/22 Page 2 of 2 Pageid#: 740




                                            Department of State
                                              Division of Corporations

                                                     Entity Information

                                                 Return to Results     Return to Search

                                                                                                                    󰅀
 Entity Details

ENTITY NAME: WOMEN FOR AFGHAN WOMEN, INC.                            DOS ID: 2723090
FOREIGN LEGAL NAME:                                                  FICTITIOUS NAME:
ENTITY TYPE: DOMESTIC NOT-FOR-PROFIT CORPORATION                     DURATION DATE/LATEST DATE OF DISSOLUTION:
SECTIONOF LAW: 402 NCL - NOT-FOR-PROFIT CORPORATION                  ENTITY STATUS: ACTIVE
LAW
DATE OF INITIAL DOS FILING: 01/24/2002                               REASON FOR STATUS:
EFFECTIVE DATE INITIAL FILING: 01/24/2002                            INACTIVE DATE:
FOREIGN FORMATION DATE:                                              STATEMENT STATUS: NOT REQUIRED
COUNTY: QUEENS                                                       NEXT STATEMENT DUE DATE:
JURISDICTION: NEW YORK, UNITED STATES                                NFP CATEGORY: CHARITABLE



                  ENTITY DISPLAY      NAME HISTORY    FILING HISTORY      MERGER HISTORY     ASSUMED NAME HISTORY



 Service of Process Name and Address

  Name: THE CORPORATION

  Address: 158-24 73RD AVE., FRESH MEADOWS, NY, UNITED STATES, 11366 - 1024



 Chief Executive Officer's Name and Address

  Name:

  Address:



 Principal Executive Office Address

  Address:



 Registered Agent Name and Address

  Name:

  Address:



 Entity Primary Location Name and Address

  Name:

  Address:
